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VIA ECOURTS
July 23, 2020

Honorable John Michael Vazquez, U.S.D.d.,
United States District Court

District of New Jersey

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, NJ O7101

Re: Angel Alfonso, et als vs. Felix Roque, et als.
Docket No. 2:19-CV-12523

Bear Judge Vazquez:

Please note that this law firm represents defendant/Third Party
Plaintiff Susan Colacurcio (“Colacurcio”) in connection with this
litigation.

Colacurcio has a Cross-motion pending before Your Honor to compel
insurance coverage from Third-Party Defendant Safety Specialty.
Since Safety Specialty withdrew its Motion to Dismiss, Colacurcio
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herby withdraws her Motion To Compel Coverage, without prejudice.
Colacurcio reserves her right to re-fFile for attorneys fees at the
appropriate time.

Respectfully submitted.
MYERS & PICO, P.C.

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‘f be #

Deborah L. Pico, Esq.
DLP/bs

ec: Susan Colacurcio
